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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                    )
PETER P. STRZOK,                                    )
                                                    )
                               Plaintiff,           )
                                                    )
                       v.                           )   Case No. 1:19-CV-2367-ABJ
                                                    )
WILLIAM P. BARR, in his official capacity           )
as Attorney General of the United States, et al.,   )
                                                    )
                               Defendants.          )
                                                    )


            PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                     AND FOR SUMMARY JUDGMENT (ECF No. 30)
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       “These were dirty people. These were bad people. These were evil people, and I hope

that someday I’m going to consider it my greatest, or one of my greatest achievements, getting

rid of them.” SOGI1 ¶ 59u. These were the words that President Trump used just last week to

describe to reporters his pride in ensuring the termination of FBI employees, including Plaintiff

Peter Strzok, who played significant roles in the investigation of the Russian Government’s

efforts to undermine the 2016 Presidential elections in Trump’s favor. Those recent comments

echoed vitriolic statements President Trump made about Mr. Strzok before and after he was fired

in settings from press conferences to Twitter to campaign rallies. Mr. Strzok’s Complaint alleges

that his firing by the Deputy Director of the FBI after Mr. Strzok had already entered into a

binding agreement to accept demotion and suspension was indeed a politically-motivated

achievement of President Trump and his political allies tied to a politically-motivated effort to

use Mr. Strzok’s text messages to discredit investigations of the President and his campaign. Yet

Defendants’ Motion to Dismiss or for Summary Judgment (“Motion”) ducks the whole question

of whether, in violation of the First Amendment, Mr. Strzok was fired because of the content of

his speech.

       In fact, Defendants’ Motion is as notable for what it doesn’t include as for what it does.

Although Defendants attach declarations from officials who played no role in Mr. Strzok’s

termination, they omit any Declaration from Deputy Director Bowdich, the man who actually

fired Mr. Strzok, or the as-yet-unidentified high-ranking Department of Justice official who

approved the release of the text messages to the media. Although the Complaint in this case

clearly alleges unconstitutional discrimination based on viewpoint for the disparate manner in



1
       “SOGI” refers to Plaintiff’s Response to Defendants’ Statement of Undisputed Material
Facts and Plaintiff’s Statement of Genuine Issues.


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which this Administration treats speech praising and speech criticizing the President, this goes

entirely unaddressed in Defendants’ Motion.

       As an initial matter, the First Amendment claim here cannot be dismissed based on the

balancing framework supplied by Pickering v. Board of Education, 391 U.S. 563 (1968), as

Defendants argue, because firing an employee for the content of his or her non-public

communications is unconstitutional, irrespective of any balancing of interests. As the Second

Circuit has aptly stated, “even if the potential disruption to the office outweighs the value of the

speech, the employer may fire the employee only because of the potential disruption, and not

because of the speech. That is to say, it matters not that the potential disruption outweighs the

value of the speech if the employer subjectively makes the speech the basis of his termination

decision: such ‘retaliatory’ discharge is always unconstitutional.” Sheppard v. Beerman, 94 F.3d

823, 827 (2d Cir. 1996) (emphasis in original) (citing Waters v. Churchill, 511 U.S. 661, 681–82

(1994)).

       The Complaint describes an orchestrated campaign by the President of the United States

to pressure the FBI into firing Strzok because of the content of his speech (i.e., his viewpoint).

That claim is unquestionably plausible; indeed, it is bolstered by a seemingly endless stream of

decidedly unpresidential tweets, President Trump’s accusations that Strzok committed “treason,”

and by contemporaneous news accounts of the President personally imploring the Attorney

General and the FBI Director to fire Strzok. Compl. ¶¶ 45–47. That campaign succeeded when

the Deputy Director of the FBI, David Bowdich, overturned the final decision of the duly

designated “deciding official,” Office of Professional Responsibility (“OPR”) Assistant Director

Candice Will (“AD Will”), who had been meting out punishment at the FBI for over a decade,

and who had determined that the FBI’s mission was best served by not firing Strzok. Compl.



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¶¶ 32–36, 48. Before the President’s public demonization of Strzok, Bowdich had reassured

Strzok that the disclosure of the texts would not end his career with the FBI. Compl. ¶ 44; SOGI

Ex. N ¶ 4. Thus, even if the government could show that the Pickering balancing of interests

governs this case and tips in its favor (and it does not), there is still a material dispute over

whether Bowdich actually fired Strzok due to genuine concerns about disruption, or instead to

bow to the retaliatory animus of a vengeful President.

       Further, Defendants’ alternative motion for summary judgment is premature. Mr. Strzok

is entitled to develop a full factual record through discovery before the court weighs the

competing interests or addresses the disputed motives for Defendants’ disregard of Strzok’s

rights. Once a motion seeking summary judgment is actually ripe for review, the Court must

view all disputed facts and inferences in Strzok’s favor, an obligation the government pays lip

service to, then ignores.

       The Court should also deny the Motion with respect to the denial of due process and

Privacy Act claims. Defendants refused to afford Strzok the appeal procedures set forth in their

own policies, and refused to abide by the final decision of the duly designated appointed official

who was responsible for determining the level of discipline that best served the agency’s

interests. These facts state a plausible claim under the Fifth Amendment. Defendants’ motion

for summary judgment on Strzok’s Privacy Act claim raises more questions than it answers

about the government’s unprecedented disclosures of records about Strzok to the media.

Defendants’ rather bizarre Privacy Act arguments aim to protect the White House from liability

(although it is not a Defendant) and assert that the disclosures to the press were “routine” (they

weren’t) on the basis of two pre-discovery declarations from DOJ lawyers who did not make the

decision to release the texts to the media. Moreover, the extremely limited information that the



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Department has previously released in response to FOIA requests suggests that the relevant

portions of these declarations are misleading, at best.

       Defendants’ Motion is a remarkable document. Defendants contend that they should win

at the starting gate. They demand victory not only without a trial, but without even allowing

Strzok to obtain discovery, even on the count that they concede states a claim. If Defendants are

correct, there is no remedy, and indeed no administrative or judicial review, for a career federal

employee who is fired for privately expressing political opinions deemed to be disloyal to the

President even after the FBI official responsible for the Bureau’s disciplinary process decided

that termination was not the appropriate consequence. This would subject thousands of mid-

level managers in the federal government to punishment for expressing their opinions about

candidates for national office in private water cooler conversations. There is no precedent

supporting this terrifying argument.

                   STATEMENT OF FACTS AND LEGAL STANDARDS

       The facts of this case pertinent to the instant motion to dismiss are fully set forth in the

Complaint and must be accepted as true. The only question raised by Defendants’ motion to

dismiss is whether those facts raise plausible claims under the First and Fifth Amendments. A

Rule 12(b)(6) motion to dismiss tests the legal sufficiency of a plaintiff’s claims, not the merits,

the facts, or the defenses. See Herron v. Fannie Mae, 861 F.3d 160, 173 (D.C. Cir. 2017). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). All of the claims pled in the Complaint here are plausible.

       As noted, Defendants also move for summary judgment with respect to all three claims,

introducing into the record a few documents and two self-serving declarations. No discovery has



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been taken in this case, and the law in this Circuit is clear that a party must be afforded the

opportunity to develop a complete factual record where necessary to respond to a summary

judgment motion, as it is here. See Convertino v. U.S. Dep’t of Justice, 684 F.3d 93, 99 (D.C.

Cir. 2012). Accordingly, the Court should deny the motion for summary judgment or defer

ruling until discovery has been completed and Plaintiff is able to oppose the motion with the

benefit of a fully developed record. Pursuant to Local Civil Rule 7(h), Plaintiff is also filing a

Statement of Disputed Material Facts, which demonstrates the scope of the factual disputes that

exist.

         In ruling upon any motion for summary judgment, the Court must resolve all factual

disputes in Plaintiff’s favor and draw all inferences from those facts on his behalf. This is

particularly important where, as here, issues of motive and intent predominate. Ortiz-Diaz v.

U.S. Dep’t of Housing & Urban Dev., Office of Inspector Gen., 867 F.3d 70, 80 (D.C. Cir. 2017)

(reversing summary judgment on Title VII race claim and hoping its decision “will serve as a

shot across the bow that courts in this Circuit must adhere to the summary judgment standard and

not prematurely reject evidence that a jury could reasonably credit”); Evans v. Sebelius, 716 F.3d

617, 622–23 (D.C. Cir. 2013) (where evidence offered two “competing views” of motive, “this is

precisely the type of factual dispute that ‘must be resolved in a jury room rather than in the pages

of the Federal Reporter.’” (quoting Czekalski v. Peters, 475 F.3d 360, 362 (D.C. Cir. 2007)));

Steele v. Mattis, 899 F.3d 943, 952 (D.C. Cir. 2018) (overturning the erroneous grant of

summary judgment, and emphasizing that its “humble” task is to “ask only whether, taking all of

the evidence together, it would as a matter of law be irrational for jurors to disbelieve the

College’s assorted rationales and to credit Dr. Steele’s version of events”).




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                                            ARGUMENT

I.      THE COURT SHOULD DENY THE MOTION FOR SUMMARY JUDGMENT
        OR DEFER RULING UNTIL AFTER DISCOVERY

        This case presents critical issues of intent, motive, and, according to Defendants, the

balancing of constitutional rights. To the extent that the government seeks to dispose of the case

through a Rule 12(b) motion to dismiss, those issues can be resolved on the well-pleaded facts in

the Complaint. As explained infra at Sections II–III, Plaintiff has raised plausible claims and

Defendants’ motion should be denied. But to the extent that Defendants also ask the Court to

find that no material dispute of fact exists that would ever warrant a trial, it is far too early for the

Court to address that argument.

        Generally speaking, “summary judgment [must] be refused where the nonmoving party

has not had the opportunity to discover information that is essential to his opposition.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 250 n.5 (1986). Ordinarily, a defendant waits until after the

close of discovery to move for summary judgment, and even then, the rules permit the opposing

party to seek additional discrete information needed to address the arguments by filing a Rule

56(d) declaration. See, e.g., Convertino, 684 F.3d at 102. Here, of course, the Court has not yet

even set up a discovery schedule, no discovery has been taken, and Plaintiff has had no

opportunity to develop a factual record to counter the government’s premature bid for judgment

without a trial.

        Federal Rule of Civil Procedure 56(d) provides that “[i]f a nonmovant shows by affidavit

or declaration that, for specified reasons, it cannot present facts essential to justify its opposition,

the court may: (1) defer considering the motion or deny it; [or] (2) allow time to . . . take

discovery . . . .” Convertino explains that a Rule 56(d) motion must be granted where the

nonmovant submits an affidavit that satisfies three criteria:


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       First, it must outline the particular facts he intends to discover and describe why
       those facts are necessary to the litigation. Second, it must explain why he could
       not produce the facts in opposition to the motion for summary judgment. Third, it
       must show the information is in fact discoverable.

684 F.3d at 99–100 (brackets, quotation marks, and citations omitted).              The Goelman

Declaration, submitted with this opposition, outlines the central areas of discovery that are

necessary to respond to the instant motion for summary judgment and easily meets the applicable

Rule 56(d) standard.     The D.C. Circuit has explained that a “motion requesting time for

additional discovery [under Rule 56(d)] should be granted ‘almost as a matter of course unless

the non-moving party has not diligently pursued discovery of the evidence’” and that “summary

judgment is premature unless all parties have ‘had a full opportunity to conduct discovery.’” Id.

at 99; see also Khan v. Parsons Glob. Servs., Ltd., 428 F.3d 1079, 1087 (D.C. Cir. 2005)

(overturning a district court’s grant of summary judgment and noting “[t]he court has long

recognized that a party opposing summary judgment needs a ‘reasonable opportunity’ to

complete discovery before responding to a summary judgment motion and that ‘insufficient time

or opportunity to engage in discovery’ is cause to defer decision on the motion.”); First Chi. Int’l

v. United Exchange Co., 836 F.2d 1375, 1380–81 (D.C. Cir. 1988); Sagar v. Lew, 309 F.R.D. 18,

20 (D.D.C. 2015).

       As set forth in the Goelman Declaration, there is a wealth of information that Strzok has

not yet had access to, but which will be discoverable. Until a full factual record is developed to

adequately address the rationale of the DOJ official who made the decision to disclose the texts

to the media, the actual motivation behind Strzok’s firing, and the appropriate balancing of

interests under Pickering that Defendants contend is necessary, the Court should defer ruling on

the motion for summary judgment. See, e.g., Gordon v. Town of Hunter, No. 91-CV-0305, 1996

WL 77391, at *8 (N.D.N.Y. Feb. 16, 1996) (denying summary judgment in Pickering case and


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noting “[t]he amount of disruption that [plaintiff] may have caused and the impact his behavior

had on his working relationships are complex issues that must be determined after listening to

witnesses and after plaintiff has had an opportunity for cross-examination.”).

II.    THE MOTION TO DISMISS THE FIRST AMENDMENT CLAIM MUST BE
       DENIED

       A.      The Complaint Plausibly Alleges Retaliatory Firing Based on Strzok’s
               Viewpoint

       Plaintiff has alleged viewpoint discrimination based on Defendants’ retaliatory

termination of his employment. “To establish a First Amendment retaliation claim, a public

employee must show that (1) his speech is protected by the First Amendment and (2) the speech

was a substantial or motivating factor in the alleged retaliatory action.” Dougherty v. Sch. Dist.

of Phila., 772 F.3d 979, 986 (3d Cir. 2014). If both elements are proven, the burden “shifts . . .

to the employer to prove that . . . the same action would have been taken even if the speech had

not occurred.” Id. Retaliatory discharges are “always unconstitutional.” Sheppard, 94 F.3d at

827 (emphasis added).

       Federal employees do not lose the ordinary protection against government punishment

for speech when they accept employment, and Mr. Strzok’s private text messages expressing

political views are protected by the First Amendment. See Meyer v. Grant, 486 U.S. 414, 422–

425 (1988); Thompson v. District of Columbia, 428 F.3d 283, 285 (D.C. Cir. 2005). The

complaint alleges, and it is far more than plausible given President Trump’s public statements,

that Strzok was fired, rather than suspended and demoted by agreement, because of the views he

expressed. There is little doubt that if Strzok’s text messages had expressed animus toward

Secretary Clinton and reverence for Candidate Trump, he would still be employed by the FBI.

Defendants have offered no response to the allegation of viewpoint discrimination because they

have none.

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       Instead, Defendants’ motion is centered on Pickering balancing, but even had Defendants

not committed the standalone First Amendment violation by practicing viewpoint discrimination,

the Pickering balancing test is intended to apply where an employee speaks out publicly, which

did not occur here. Pickering and its progeny do not apply (or must invariably favor the

employee and therefore need not be applied) where a public employee is terminated based on a

private conversation about matters of public concern.2 As Justice Powell explained in an opinion

concurring in a decision to allow a First Amendment challenge to the firing of an employee for

political speech (in a case where the parties had assumed the applicability of Pickering):

       There is no dispute that McPherson’s comment was made during a private
       conversation with a co-worker who happened also to be her boyfriend. She had
       no intention or expectation that it would be overheard or acted on by others.
       Given this, I think it is unnecessary to engage in the extensive analysis normally
       required by Connick v. Myers and Pickering v. Board of Education. If a statement
       is on a matter of public concern, as it was here, it will be an unusual case where
       the employer’s legitimate interests will be so great as to justify punishing an
       employee for this type of private speech that routinely takes place at all levels in
       the workplace.

Rankin v. McPherson, 483 U.S. 378, 393 (1987) (Powell, J., concurring) (emphasis added)

(citations omitted). Notably, Defendants cite no cases applying Pickering’s balancing test to the

type of private conversation at issue here.




2
       This Circuit has applied a four-factor Pickering analysis in determining when public
employees’ speech is protected for the purpose of retaliation claims, but only where the speech
was public or directed to workplace superiors or the government. See Thompson v. District of
Columbia, 428 F.3d 283, 285 (D.C. Cir. 2005); Tao v. Freeh, 27 F.3d 635, 638, 640 (D.C. Cir.
1994); cf. Janus v. Am. Fed’n of State, Cty., & Mun. Employees, Council 31, 138 S. Ct. 2448,
2472 (2018) (“[T]he Pickering framework was developed for use in a very different context—in
cases that involve ‘one employee’s speech and its impact on that employee’s public
responsibilities.’”). Here, Strzok’s speech was intended to remain private and, on its own, had
no impact on his professional responsibilities.


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       B.      Concerns Over Disruption Did Not Actually Motivate Strzok’s Termination

       The Pickering balancing of interests allows a government employer to avoid liability if it

fired an employee due to genuine concerns about the disruptive influence of his speech on a

matter of public concern, but only if the employer’s interests in the efficiency of its operations

outweighed the plaintiff’s interest in free speech. Pickering, 391 U.S. at 568. That is a fact-

based and context driven exercise; but the exercise presumes that the employer actually was

motivated by concerns about disruption. If it were not—if the professed concerns were merely a

pretext to cover retaliatory animus over the content of the employee’s speech about a matter of

public importance—then Pickering balancing provides no shield. See Nagle v. Marron, 663 F.3d

100, 115 (2d Cir. 2011) (“no reasonable official could think that such speech-retaliatory conduct

was constitutionally permissible”). As the Supreme Court cautioned in Rankin v. McPherson,

483 U.S. 378, 384 (1987), “[v]igilance is necessary to ensure that public employers do not use

authority over employees to silence discourse, not because it hampers public functions but

simply because superiors disagree with the content of employees’ speech.” See also Waters, 511

U.S. at 681 (reversing a grant of summary judgment where a jury could have found that the

government employer “actually fired Churchill not because of the disruptive things she said . . . ,

but because of nondisruptive statements about cross-training that they thought she may have

made in the same conversation”).

       In the wake of Rankin and Waters v. Churchill, 511 U.S. 661 (1994), courts have held

that regardless of Pickering balancing, an employer who asserts disruption as a pretext to punish

a worker because of the content of the speech violates the First Amendment. In Sheppard v.

Beerman, 94 F.3d 823 (2d Cir. 1996), for example, a court clerk spoke out about concerns

regarding corruption by his employer, a New York State Supreme Court judge, and claimed to

have notes that he would release to the public. The judge contended that the employee had been

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insubordinate and disruptive during the confrontation in which the speech occurred, and that it

could lawfully fire him for the disruptive speech (an interest outweighing any free speech

concerns). The district court agreed and granted summary judgment. The Court of Appeals

reversed, noting:

       According to Sheppard’s complaint, Beerman expressed deep concern over
       Sheppard’s claim to have kept notes detailing Beerman’s instances of public
       corruption, and the possibility that those notes would be made public. And, after
       firing Sheppard, Beerman seized Sheppard’s personal files, and inspected them
       before returning them to Sheppard. If substantiated through discovery, these facts
       may tend to show that Beerman’s actual motive for firing Sheppard was the
       content of his speech, and not Beerman’s fear that Sheppard would disrupt the
       office working environment.

Sheppard, 94 F.3d at 828. Based on this, the Court held that “even if the potential disruption to

the office outweighs the value of the speech, the employer may fire the employee only because

of the potential disruption, and not because of the speech. That is to say, it matters not that the

potential disruption outweighs the value of the speech if the employer subjectively makes the

speech the basis of his termination decision: such ‘retaliatory’ discharge is always

unconstitutional.” Id. at 827 (emphasis modified). The Second Circuit applied the same test in

Locurto v. Giuliani, 447 F.3d 159, 172–73 (2d Cir. 2006), also cited by Defendants: A

government employer may fire an employee for speaking on a matter of public concern if: “(1)

the employer’s prediction of disruption is reasonable; (2) the potential disruptiveness is enough

to outweigh the value of the speech; and (3) the employer took action against the employee based

on this disruption and not in retaliation for the speech.” (emphasis added).

       Here, Strzok has plausibly pled that the concern about disruption professed by Deputy

Director Bowdich was not the actual motivation for his discharge, and that it was a pretext for

reprisal. More precisely, the President was irate over what he considered to be disloyal and




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unflattering remarks about his fitness for office, and demanded Strzok’s head, and Bowdich

decided that he had to fire Strzok to placate the President. Compl. ¶ 44.

       Strzok is only required to show that his claim is plausible at this stage, but the limited

available evidence suggests that his claim will succeed. He had a distinguished career that

spanned more than twenty years during which, Defendants note, he “performed with distinction

and gained the respect of his superiors.” Compl. ¶¶ 14–16; Motion at 1.3 Two lengthy and

exhaustive investigations by the DOJ Office of the Inspector General (“OIG”) concluded that

Strzok’s political opinions had no impact on his work. Compl. ¶ 32; SOGI ¶¶ 53, 59c, 59p. The

authority to discipline Strzok was held by Candice Will, the Assistant Director of the FBI’s

Office of Professional Responsibility.     The FBI’s published disciplinary policies call for a

standard penalty of a 5-day suspension for a first infraction of its policy. Compl. ¶ 28. Will

carefully considered the entire record, determined that a 60-day suspension and demotion of

Strzok out of the SES was the appropriate disciplinary action, presented a “Last Chance

Agreement” (“LCA”) memorializing those terms to Strzok (which he accepted), and issued a

final decision to that effect on August 8, 2018. Compl. ¶¶ 30, 33–36.

       Deputy Director David Bowdich initially assured Strzok that the text messages would not

end his career with the FBI. Compl. ¶ 44. Bowdich reversed course and fired Strzok on August

9, 2018. Compl. ¶ 37. This was after a sustained and public campaign by the President

demanding that the FBI fire Strzok, as well as at least one reported non-public demand that FBI

Director Wray and Attorney General Sessions explain why Mr. Strzok and Ms. Page “were still

in their jobs despite allegations made by allies of the President that they had been disloyal to him

3
       “Motion” refers to the Memorandum in Support of Defendants’ Motion to Dismiss or, in
the Alternative, for Summary Judgment, as to Count One and Two, and Motion for Summary
Judgment as to Count Three. ECF No. 30-1.


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and had unfairly targeted him and his administration.” Compl. ¶¶ 45–47. As recently as last

week, President Trump bragged about his “achievement” of purging the FBI of the employees

who led the investigation into his campaign’s contacts with Russia. SOGI ¶ 59u. Nevertheless,

Defendants’ Motion implicitly asks the Court to conclude, without discovery, that the public

pressure was not accompanied by any undisclosed interference in the FBI’s process by the

President or his allies and that Bowdich’s about-face was entirely unrelated to these demands,

both known and (currently) unknown.

       This argument is particularly difficult to credit when the government has used AD Will’s

experience and credibility to support its Motion to Dismiss and for Summary Judgment in

another case pending in this District. In McCabe v. Barr, the government has argued, among

other things, that AD Will’s involvement in the decision to fire McCabe is evidence of the

apolitical nature of that decision. See Motion to Dismiss and For Summary Judgment at 21, 28,

No. 1:19-CV-2399-RDM (D.D.C. Nov. 1, 2019). Here, of course, AD Will decided that Mr.

Strzok should not be terminated.

       Moreover, the Trump administration’s treatment of Strzok cannot be considered in a

vacuum; the administration has taken a decidedly uneven approach to expressions of political

views by government employees, seeking to punish perceived adversaries like Strzok while

actively protecting its allies even when their political speech in support of the President or

against his political rivals constitutes a clear violation of federal law. Compl. ¶ 23.

       Even since the filing of the Complaint additional evidence of this double standard has

surfaced, in the form of the revelation in the OIG’s Crossfire Hurricane Report that certain FBI

agents working on the Russia investigation had celebrated President Trump’s election victory

with texts volunteering to work on an investigation of the Clinton Foundations and (apparently



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without irony) proclaiming that Secretary Clinton’s defeat ensured that there would not be a

“criminal . . . in the White House.” SOGI ¶ 59q. There is no evidence of an attempt to punish

these agents, and Plaintiff does not contend that they should be punished. But this vignette is yet

additional evidence of this Administration’s pattern of treating critics of President Trump more

harshly than his supporters.

       Based on these facts, the inference that Bowdich acted in accordance with President

Trump’s desire for political retribution as a result of Strzok’s political views is not merely

plausible, it is highly probable. If proved out, it is also dispositive. As Justice Kennedy

explained in Rosenberger v. Rector & Visitors of the University of Virginia, 515 U.S. 819, 828–

29 (1995), “[d]iscrimination against speech because of its message is presumed to be

unconstitutional. . . . When the government targets not subject matter, but particular views taken

by speakers on a subject, the violation of the First Amendment is all the more blatant. Viewpoint

discrimination is thus an egregious form of content discrimination.” See also Perry Educ. Ass’n

v. Perry Local Educators’ Ass’n, 460 U.S. 37, 61–62 (1983) (Brennan, J., dissenting)

(“Viewpoint discrimination is censorship in its purest form and government regulation that

discriminates among viewpoints threatens the continued vitality of ‘free speech.’”); Iancu v.

Brunetti, 139 S. Ct. 2294, 2302 (2019) (holding Lanham Act’s bar on the registration of

“immoral” or “scandalous” trademarks discriminates on the basis of viewpoint). Had Strzok

espoused the view that Secretary Clinton was a criminal and deserved to be “locked up” rather

than criticizing Candidate Trump, he never would have been fired. That is textbook viewpoint

discrimination, and Defendants’ failure to even address these allegations in their Motion should

be treated as an admission.




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       C.      Pickering Balancing Favors Strzok’s Right to Free Speech

       Even if the FBI was not kowtowing to the retaliatory animus of the President, and instead

fired Strzok over a genuine determination that his speech was unduly disruptive, Strzok has still

stated a viable claim under the First Amendment. As noted, with rare exceptions, Pickering

balancing is fact-intensive and premature in advance of discovery and unnecessary to apply in

the circumstances here. See Thompson, 428 F.3d at 286 (“The district court could not conduct

this ‘searching review’ based on this record, nor can we.”); Gustafson v. Jones, 117 F.3d 1015,

1019 (7th Cir. 1997) (Pickering balancing requires discovery). If the Court is inclined to engage

in a Pickering balancing analysis, it should find that Strzok’s strong interests in speaking

privately about the political events of the day outweighed any actual or potential disruption to the

operation of the FBI.

               1.       Strzok Engaged in the Most Protected Type of Speech

       The expression of political views and commentary on the merits or demerits of

candidates for high public office is among the most valued speech and is afforded the highest

degree of protection under the law. Meyer v. Grant, 486 U.S. 414, 422–425 (1988) (recognizing

constitutional protection of “core political speech” as being “at its zenith”). This type of speech

“is more than self-expression; it is the essence of self-government” and occupies the “highest

rung of the hierarchy of First Amendment values” entitling it to special protection. Stough v.

Gallagher, 967 F.2d 1523, 1529 (11th Cir. 1992). This is crucial, because “[t]he more tightly the

First Amendment embraces the employee’s speech, the more vigorous a showing of disruption

must be made by the employer.” Dougherty, 772 F.3d at 991.

       The government concedes that Strzok’s speech was on a “matter of public concern.”

While this conclusion is obvious, it is not sufficient to properly assess the relative weight his

speech enjoys in Pickering balancing. An employee’s interests in speech “is entitled to more

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weight when the employee is commenting on a matter of general interest or acting as a

whistleblower exposing corruption among public officials rather than merely trying to advance

his own interests as an employee, interests that would be no different if his employer were not

the government.” Foster v. Ripley, 645 F.2d 1142, 1148 (D.C. Cir. 1981).

       In Connick v. Myers, 461 U.S. 138, 154 (1983), for example, the speech at issue arose out

of the employee’s grievances about internal office policies and “touched upon matters of public

concern in only a most limited sense.” Waters involved similar issues specific to the training of

employees and operation of a public hospital. 511 U.S. at 681. Because the speech at issue in

both cases fell on the low end of the protection spectrum, the Court held the employers to

relatively low burdens to justify regulating (i.e., punishing) the speech, and did not require proof

of actual disruption: “The limited First Amendment interest involved here does not require that

Connick tolerate action which he reasonably believed would disrupt the office, undermine his

authority, and destroy close working relationships.” Connick, 461 U.S. at 154. Because Myers’

speech primarily involved her own workplace grievances, the Supreme Court did “not see the

necessity for an employer to allow events to unfold to the extent that the disruption of the office

and the destruction of working relationships is manifest before taking action.” Id. at 151–152.

In the next breath, however, the Court emphasized, “We caution that a stronger showing may be

necessary if the employee’s speech more substantially involved matters of public concern.” Id.

The Court reiterated the importance of this relative balancing of interests in Waters: “[A]

government employee, like any citizen, may have a strong, legitimate interest in speaking out on

public matters.    In many such situations, the government may have to make a substantial

showing that the speech is, in fact, likely to be disruptive before it may be punished.” Waters,

511 U.S. at 674.



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       Here, Strzok was not complaining about some workplace slight, or seeking to advance his

own interests on the job. Instead, his opinions about the fitness of a candidate for President is the

type of core political expression that enjoys the highest degree of protection under the First

Amendment. McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 346 (1995) (“Discussion of

public issues and debate on the qualifications of candidates are integral to the operation of the

system of government established by our Constitution. The First Amendment affords the

broadest protection to such political expression in order to assure the unfettered interchange of

ideas for the bringing about of political and social changes desired by the people.”).

       Because the value of this type of speech is so high, federal courts have consistently held

that speech by employees regarding elections and candidates for office are entitled to the greatest

protection under Pickering. See, e.g., Haverda v. Hays County, 723 F.3d 586, 598 (5th Cir.

2013) (“Letters to the editor, supporting a candidate during a campaign, are a unique form of

speech that embody the very essence of the First Amendment and require its full protection.”);

Bland v. Roberts, 730 F.3d 368, 387–88 (4th Cir. 2013) (“[T]he public’s interest in Carter’s

opinions regarding the election may have had particular value to the public in light of his status

as a Sheriff’s Office employee.”); Stough, 967 F.2d at 1529 (“On Stough’s side of the Pickering

scale is his interest in commenting on the qualifications of political candidates. This type of

speech ‘is more than self-expression; it is the essence of self-government’ and occupies the

‘highest rung of the hierarchy of First Amendment values’ entitling it to special protection.”).

“As the magnitude of intrusion on employees’ interests rises, so does the Government's burden

of justification.” United States v. Nat’l Treasury Emps. Union, 513 U.S. 454, 483 (1995). And

because the nature of core political speech is so highly valued under Pickering, a government

employer’s attempt to punish such speech faces the highest level of scrutiny and requires a



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strong justification. See Navab-Safavi v. Broad. Bd. of Governors, 650 F. Supp. 2d 40, 57

(D.D.C. 2009) (explaining where plaintiff had protested the U.S. involvement in the Iraq War,

that the “Defendants must make a particularly ‘strong[ ] showing’ that they had a legitimate

interest in terminating plaintiff’s contract because her speech ‘substantially involved matters of

public concern’”).

               2.     Private Speech on a Matter of Public Concern Is Presumptively Protected

       This case is nothing like those on which Defendants rely in their motion. Mr. Strzok did

not intend to speak publicly about his views on the candidates for the election. He did not write

a letter to the editor of a newspaper seeking publication, hold a press conference, send an email

to all of his contacts, or even post on social media. He shared his political views with someone

he trusted, and they remained the personal correspondence of two government employees until

high ranking officials in the DOJ or White House leaked the communications to the press.

       In this respect, this case is most similar to Rankin. In Rankin, a deputy clerk in a

Sheriff’s office made a private statement to her boyfriend, after hearing a news report on the

radio about the attempted assassination of President Reagan, that “if they go for him again, I

hope they get him.” Another employee overheard McPherson’s remark and reported it to the

employer, who fired McPherson. In assessing whether the speech was protected and whether the

firing violated the First Amendment, Justice Powell, in his concurring opinion, observed:

       There is no dispute that McPherson’s comment was made during a private
       conversation with a co-worker who happened also to be her boyfriend. She had no
       intention or expectation that it would be overheard or acted on by others. Given
       this, I think it is unnecessary to engage in the extensive analysis normally required
       by Connick v. Myers and Pickering v. Board of Education. If a statement is on a
       matter of public concern, as it was here, it will be an unusual case where the
       employer’s legitimate interests will be so great as to justify punishing an
       employee for this type of private speech that routinely takes place at all levels in
       the workplace.



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Rankin, 483 U.S. at 393 (citations omitted). The remaining members of the majority expressly

endorsed this view: “We agree with Justice Powell that a purely private statement on a matter of

public concern will rarely, if ever, justify discharge of a public employee.” Id. at 388 n.13

(Marshall, J., opinion of the Court).

       Defendants may reply that Mr. Strzok knew that any texts sent or received on an FBI-

issued phone were not truly “private,” because communications on these phones could be

monitored. There are two problems with that response. First, nearly every aspect of a modern

workplace, and for that matter nearly every non-workplace aspect of employees’ lives, can be

monitored.    The fact that a workplace conversation can be discovered does not render it

unprotected. Rankin illustrates this principle, as the deputy clerk’s comments took place at work

and were overheard and reported to management, but the Supreme Court still found the firing

unlawful. If this Court were to hold otherwise, it would chill a tremendous amount of core

political speech (water-cooler conversations, emails, text messages, and idle conversations at any

time). There is no legitimate government interest in regulating this type of privately expressed

political speech. At a minimum, Rankin stands for the proposition that communications at the

workplace which are intended to be private, and which touch upon a matter of public concern are

presumptively protected, and require a heavy burden—i.e., “an unusual case”—before the

government can “justify punishing an employee for this type of private speech that routinely

takes place at all levels in the workplace.” Id. at 393.

       Second, that burden should be even heavier for the government to carry here, because it

was the DOJ itself that first leaked and later officially publicized Strzok’s speech by giving a

selected subset of his texts to the media. As paragraph 62 of the Complaint alleges, “On

December 12, 2017, DOJ willfully and intentionally disclosed to numerous news outlets



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approximately 375 text messages to, from, and about Special Agent Strzok. In a press release,

DOJ called this act a ‘public release’ of the messages.” Defendants should not be heard to

complain about the notoriety and putative damage to the FBI’s reputation from Strzok’s speech

when it was their own illegal disclosures, magnified and distorted by the false attacks made by

the President and his allies, that placed a spotlight on Strzok’s opinions.

               3.      There Is Little on the Employer’s Side of the Pickering Ledger

       The two factors discussed above—the paramount protection afforded Strzok’s speech

under the First Amendment and that he expressed his views privately—weigh heavily on

Strzok’s side of the Pickering balancing. As explained below, Defendants do little to counter

that. They offer no actual evidence of any disruption to the mission of the FBI caused by

Strzok’s speech, and indeed the IG found that Strzok’s decisions and actions in the relevant

investigations were not impacted by his political views. Instead, the government argues that it

can act entirely on speculation about disruption. But the cases the government relies upon

involved speech that barely nudged across the threshold of “public interest” because they

concerned employees’ grievances about their workplaces, falling on the low-end of the spectrum

of protected speech. See Davis v. Billington, 51 F. Supp. 3d 97, 114 (D.D.C. 2014) (such cases

“involve markedly different factual contexts than this case”).           The Supreme Court has

emphasized that “a stronger showing [of disruption] may be necessary if the employee’s speech

more substantially involve[s] matters of public concern,” as is clearly at issue here. Connick,

461 U.S. at 152. No such showing of disruption has been made.

                       (a)     There Is No Actual Evidence of Disruption

       The government does not even try to show that it suffered any actual disruption or harm

from Strzok’s highly protected speech. It offers no contemporaneous records of complaints from

co-workers, no representation from his supervisors that Strzok’s speech created any substantial

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disharmony or conflict at the workplace, and no indication that his speech in any way actually

influenced or interfered with Strzok’s performance of his duties. Cf. Thompson, 428 F.3d at 286

(“district court erred in” concluding that government’s interest in efficiency outweighed First

Amendment rights where it could not “conduct an individualized and searching review of the

factors asserted by the employer to justify the discharge” without a fully developed record).

       Nor did Deputy Director Bowdich rely upon any evidence of actual disruption at the time

he fired Strzok. And, of course, all of the contemporaneous evidence pointed in the opposite

direction. The IG determined that Strzok’s political views did not influence any of his actions in

the investigations and noted that Strzok’s co-workers, whom the IG interviewed, confirmed that

they didn’t even know Strzok’s political views. Compl. ¶ 32; SOGI ¶ 53. In any event, even

after Strzok’s political speech was disclosed, his supervisors went on record supporting his

retention by the Bureau, attesting that he was “an extremely talented and intelligent investigator,

gifted agent, and hard-working employee, [whose] Division believes [he] will never again

engage in misconduct.” Compl. ¶ 34.

       Rather than actual disruption, the government relies entirely on “reasonable inferences”

of harm (Motion at 17), and insists that such amorphous justifications have been blessed by the

Supreme Court’s decisions in Connick and Waters, and the D.C. Circuit’s decision in Hall v.

Ford, 856 F.2d 255 (D.C. Cir. 1988). But those cases dealt with speech on the low end of the

spectrum, and the Court’s admonition that a comparatively higher burden may be applied when

the speech involves core political speech like Strzok’s here. See supra Section II.C.1. The

government faces a far more demanding burden here:

           Occasionally, the state’s burden to justify its actions may be as light as merely
           proving that the employer “reasonably believed the employee’s speech was
           likely to disrupt its operations.” However, where, as here, “the employee’s



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           speech more substantially involves matters of public concern,” the burden
           increases to require objective evidence of disruption.

Matherne v. Wilson, 851 F.2d 752, 761 n.53 (5th Cir. 1988) (quoting Gonzalez v. Benavides, 774

F.2d 1295, 1302 (5th Cir. 1985)); see also Durham v. Jones, 737 F.3d 291, 302 (4th Cir. 2013)

(“[I]t is not enough that there is some disruption; the amount of disruption has to outweigh the

importance of the speech and its concern to the public.”); Goldstein v. Chestnut Ridge Volunteer

Fire Co., 218 F.3d 337, 356 (4th Cir. 2000) (holding that “generalized and unsubstantiated

interests” “in maintaining morale and efficiency” within the fire department did not outweigh

plaintiff’s speech interest); Dougherty, 772 F.3d at 991 (“The more tightly the First Amendment

embraces the employee’s speech, the more vigorous a showing of disruption must be made by

the employer.”). In Dougherty, the Third Circuit found that any minimal disruption to the

employer’s office was the result of the employer’s retaliatory attempts to silence the speech,

rather than the employee’s protected speech itself: “It is against this Court’s precedent to find

against an employee where the disruption ‘was primarily the result, not of the plaintiff’s exercise

of speech, but of his superiors’ attempts to suppress it.’” 772 F.3d at 992 (quoting Czurlanis v.

Albanese, 721 F.2d 98, 107 (3d Cir. 1983)). Here too, any disruption or harm to the agency’s

reputation flowed directly from defendants’ unlawful release of the texts to the media to try to

discredit the Special Counsel’s investigation, not Strzok’s speech itself.

       Moreover, in those cases in which courts have permitted an employer to rely upon

reasonable predictions of harm, it is because the firing took place soon after the protected speech,

and courts acknowledged that “we do not see the necessity for an employer to allow events to

unfold to the extent that the disruption of the office and the destruction of working relationships

is manifest before taking action.” Connick, 461 U.S. at 152. Here, in contrast, the text messages

were publicly revealed to the media in December 2017, and the FBI did not fire Strzok until


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August of the following year. Aside from a torrent of presidential tweets vilifying Strzok for his

“disloyalty,” no actual disruption ensued in the roughly nine months between disclosure of his

texts and Strzok’s firing. The government’s inability to point to any actual harm to the mission

of the agency under these circumstances is fatal to its Pickering argument.

       In American Postal Workers Union, AFL-CIO v. U.S. Postal Service, 830 F.2d 294, 303

(D.C. Cir. 1987), the D.C. Circuit faced a similar effort by the government to justify firing an

employee over his speech. There too, the government was unable to offer any evidence of actual

disruption and instead argued that the plaintiff’s conduct had jeopardized the “public’s

confidence in the confidentiality of the mailstream.” While that concern was “[o]bviously . . .

legitimate,” not least because the terminated postal worker had written an editorial stating that he

read a congressman’s mail, the Circuit concluded that in the “absence of any demonstrated harm

caused by [the employee’s] speech, [he] must prevail in the balancing of competing interests.”

Id. As in American Postal Workers Union, Defendants have not shown that any harm resulted

from Mr. Strzok’s speech rather than from its own leaks about his political views.

                       (b)     Strzok’s Position in the FBI Does Not Leave Him Unprotected

       Unable to show any disruption, the government tries to bolster its Pickering presentation

by contending that Strzok occupied the type of policy making position which affords less

protection from discipline based on public speech. Here, the government relies almost entirely

on the D.C. Circuit’s opinion in Hall v. Ford, 856 F.2d 255 (D.C. Cir. 1988). See Motion at 21–

25. Hall is nothing like this case.

       Hall occupied one of the highest-level positions at the University of the District of

Columbia. As Athletic Director, he reported directly to the President of the University and

Board of Trustees. He was a “highly visible spokesman” and “likely to be thought of by the

public as responsible for running the [athletic] department.” Id. at 265. Strzok simply did not

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occupy a comparable role. Although the Court need not address the incomplete evidentiary

record, Plaintiff notes that Defendants’ Exhibit 7 undermines their argument. The government

has denoted employees who occupy a policy-making role by exempting those employees from its

standard disciplinary process. Specifically excluded are the “deputy director (DD), the associate

deputy director (ADD), any executive assistant directors (EADs), the general counsel (GC), or

any Senior Executive Service (SES) employee who reports directly to the FBI Director.” See

Defs.’ Ex. 7 at 1 (emphasis added).       Policy-making employees are subject to disciplinary

decisions from the Deputy AG, and Strzok is not in that category. See Hall, 856 F.2d at 255.

       Roughly eight thousand other SES-level managers are similarly situated to Strzok in the

federal workforce in that they supervise employees, but the vast majority of those employees are

not policy-makers. See Facts About the Senior Executive Service (SES), FEDWEEK (Oct. 29,

2018), https://ask.fedweek.com/facts-senior-executive-service-ses/. The government’s argument

would leave thousands of career federal government employees without protections from

discipline over the content of their political speech. That is not what Pickering intended.

       Another crucial distinction is that Hall publicly espoused views that were contrary to

those of his employer: “Hall’s views as to how the department should have been run were

obviously at odds with those of the Board.” Hall, 856 F.2d at 265. This fact was decisive for the

Court, which noted that Hall’s statements “reflected a policy disagreement with his superiors

such that they could not expect him to carry out their policy choices vigorously.” Id. An

employer obviously must have confidence that its senior leaders are aligned with the

organization’s policies and goals, and public speech undermining the employer can be regulated.

But there is nothing of the kind here. As noted above, Strzok was merely expressing his personal

political opinions in what he intended to be private messages. His views about presidential



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candidates are not the same as criticizing the policies of his agency. The government does not

cite to a single comparable situation in which punishment for speech in those circumstances has

been sustained.

       The government offers two other points to tip the balance in its favor: (1) that some of the

texts “related” to the investigations Strzok was involved in, and (2) that the “time, place and

manner” of his speech rendered it unprotected. As to the former, “[s]peech can be covered by

the First Amendment even if it is related to one’s job function” so long as it is not part of the

employee’s official duties. Winder v. Erste, 566 F.3d 209, 216 (D.C. Cir. 2009). And, of course,

context is crucial. When an employee speaks publicly in opposition to his employer’s interests

on a topic related to his work, it can be disruptive. That is not what happened here. Strzok was

intending to speak privately, and it was Defendants themselves who made his speech public.

       Finally, Defendants’ “time, place and manner” argument trumpets the fact that Strzok

used his government-issued cell phone to engage in the speech. Defendants note that Strzok and

Page exchanged more than 40,000 texts, and argue that “[t]he fact that the relevant speech very

likely occurred, at least in part, during work hours strongly favors the Government’s interest in

regulating it,” before piously concluding that “[t]he FBI properly pays its employees to spend

their work days furthering FBI’s statutory mission—not undermining it at government expense.”

Motion at 26. This argument ignores the fact that the overwhelming majority of the 40,000 texts

were either work-related (and apolitical) or private texts sent during the evening or on weekends,

and FBI policy explicitly allows some personal use of cellphones issued by the Bureau. See

SOGI Ex. O at 15–16. Moreover, the insinuation that the American taxpayers didn’t get their

money’s worth from Mr. Strzok’s service with the FBI is belied by OPR’s acknowledgement of

Mr. Strzok’s extraordinary performance record and work ethic. Compl. ¶ 34.



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       The fact that the texts were sent on an FBI-issued phone was baked into AD Will’s

determination of the appropriate penalty. But it was just one factor, which AD Will determined

did not justify terminating Strzok. Rather, she engaged in the balancing of all of these factors,

and determined that the mission of the agency was best supported by imposing lesser discipline,

and keeping a very talented agent on the rolls. Here too, this one factor does not outweigh

Strzok’s important interest in expressing his core political beliefs, and is insufficient to justify

the decision to fire him. Cf. Davis, 51 F. Supp. 3d at 122 (denying motion for summary

judgment based on the factual dispute over “how much CRS time the plaintiff spent in order to

finalize [his] Wall Street Journal opinion piece” and whether that use of time justified his

termination).

       Defendants’ further claim that the “vulgar, vituperative, and ad hominem character” of

Mr. Strzok’s speech also “weighs against his claim,” and they offer snippets of selectively

chosen texts to illustrate “the base tone of Plaintiff’s discourse.” Motion at 27. In addition to the

fact that there is no requirement that political speech be genteel, see, e.g., New York Times v.

Sullivan, 376 U.S. 254, 270 (1964) (acknowledging that debate on matters of public concern

“may well include vehement, caustic, and sometimes unpleasantly sharp attacks on government

and public officials”), it is a bit rich for this Administration to be criticizing Mr. Strzok’s

decorum when the President has repeatedly used the most inflammatory and vulgar language to

attack Mr. Stzrok. This pattern, which is ongoing and has included false charges of treason and

restraining orders, reached its ugly (thus far) peak at a rally in Minneapolis in October 2019, at

which Mr. Trump mimicked Mr. Strzok having an orgasm before tens of thousands of jeering

supporters, thereby completing the President’s debasement of the office once held by Lincoln

and Washington. SOGI ¶ 59b.



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       In the end, we are left in the same position as the court in Navab-Safavi v. Glassman, 637

F.3d 311, 318 (D.C. Cir. 2011), where the D.C. Circuit affirmed the district court’s denial of a

motion to dismiss a First Amendment claim involving Pickering:

       Neither the district court nor this court has evidence in the record that appellee’s
       conduct interfered with the performance of the governmental function, including
       the carrying out of the statutory mandates. We have only allegations, and the
       allegations of the parties are in conflict. At summary judgment or at trial, these
       conflicts may be resolved on an evidentiary record. At the stage of the motion to
       dismiss, they cannot. We must take the allegations in the light most favorable to
       the plaintiff. She stated a claim for violation of her First Amendment rights. The
       Board asserts its qualified immunity, but we are unable to determine without an
       evidentiary record whether any act it committed in defense of those functions
       constituted a violation of clearly established rights, or even in general terms,
       where the Pickering balancing tips.

       We therefore conclude that the district court did not err in denying the motion to
       dismiss, and we remand the claim for further proceedings consistent with this
       opinion.

III.   MR. STRZOK HAS STATED A VIABLE FIFTH AMENDMENT CLAIM

       The FBI designated OPR Assistant Director Candice Will to be its final decision-maker

with respect to the proposal to discipline Peter Strzok. Compl. ¶¶ 1, 50. AD Will had been

performing that function for the FBI for many years.         Compl. ¶ 50.     The materials that

Defendants have injected into the record along with their motion merely underscore Will’s

unequivocal role as the deciding official. See, e.g., Defs.’ Ex. 1 at 23 (“You will receive a

written decision letter from the AD, OPR after consideration of any oral and written responses to

the proposed action, fully stating the reasons for the decision.”). Will offered a Last Chance

Agreement, which Strzok and his counsel signed and thereby accepted on July 26, 2018. Defs.’

Ex. 5. In that agreement, Strzok relinquished any appeal rights with respect to AD Will’s

decision, and accepted the demotion and suspension as the “FINAL decision in this matter.” Id.

AD Will made reference to and relied upon that LCA in her final decision issued on August 8,

2018. Compl. ¶ 35.

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       The government now argues that none of that mattered, and that David Bowdich could

ride in at the 11th hour and overturn AD Will’s decision at his discretion, because Strzok

purportedly had no property interest affording him any protections under the Fifth Amendment.

That argument is incorrect for two reasons. First, “[a] last-chance agreement is a settlement

agreement, and a settlement agreement is a contract.” Link v. Dep’t of Treasury, 51 F.3d 1577,

1582 (Fed. Cir. 1995). Contracts give rise to property rights. Indeed, the Supreme Court has

emphasized that:

       “[P]roperty” interests subject to procedural due process protection are not limited
       by a few rigid, technical forms. Rather, “property” denotes a broad range of
       interests that are secured by “existing rules or understandings.” A person’s
       interest in a benefit is a “property” interest for due process purposes if there are
       such rules or mutually explicit understandings that support his claim of
       entitlement to the benefit and that he may invoke at a hearing.

Perry v. Sindermann, 408 U.S. 593, 601 (1972) (emphasis added). In Perry, the Court found that

the employee had alleged a viable property interest, subject to due process protections, by

contending that his state university employer had an informal and unwritten agreement that

“certain employees shall have the equivalent of tenure.” Id. at 602. The FBI’s explicit written

agreement with Strzok, in which he offered as valuable consideration the relinquishment of legal

rights and obtained the agency’s agreement that he would not be fired over these issues, is an

even stronger source of a property interest than the implied contract in Perry.

       The sequence of Mr. Strzok’s negotiations with AD Will underscore the contractual

nature of the LCA. Mr. Strzok executed and returned the LCA on July 26, 2018, to AD Will’s

office, which had stressed to counsel for Mr. Strzok that “in the end, it is [AD Will’s] decision.”

SOGI ¶ 59j. When AD Will did not issue her decision within several days, counsel for Mr.

Strzok inquired, and was informed that AD Will was still considering whether to move forward

with the LCA. Counsel noted that “to the extent that AD Will is considering terminating Pete


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instead of moving forward with the LCA,” Mr. Strzok requested that AD Will contact Strzok’s

character witnesses “and consider what they have to say as mitigation under the Douglas

factors.” SOGI ¶ 61e. On August 6, 2018, counsel for Mr. Strzok was informed that AD Will

was ready to issue her final decision and was asked whether Mr. Strzok wanted her to wait until

one of his character witnesses could submit a letter on his behalf. Counsel responded that, if AD

Will was ready to move forward pursuant to the terms of the LCA, there was no need to wait for

the last character letter, and AD Will proceeded to accept the LCA, extinguishing Strzok’s right

to appeal to a DRB and his opportunity to submit additional mitigating evidence under the

Douglas factors. SOGI ¶ 61f. The next day, without warning, Bowdich reversed AD Will’s

decision and informed Strzok that his decision terminating Strzok constituted a final,

unappealable, agency action.     SOGI ¶ 61h.      While discovery will reveal what (ultimately

unsuccessful) pressure was brought to bear on AD Will between July 26 and August 8, 2018, DD

Bowdich was evidently unable to withstand the same pressure.4

       Second, even if the FBI had not contractually promised to give Strzok a last chance and

not to fire him over these events, Candice Will’s August 8 decision demoting him out of the SES

restored him to a veteran’s preference eligible status with property rights in his job. See 5 U.S.C.

§§ 7511(a)(1)(B), (b)(8), and 7513(d). AD Will’s decision was unequivocal and had immediate

effect: “I am: (a) suspending you from duty, without pay, for 60 calendar days, not dismissing

you, as originally proposed; and (b) demoting you to a non-supervisory position.” Defs.’ Ex. 4 at

1. Thus, Strzok was not a member of the SES when David Bowdich fired him the next day.

Courts interpreting this statutory scheme have consistently held that while rank and file


4
        It is notable that AD Will unexpectedly retired from the FBI shortly after DD Bowdich
overruled her decision. Whether there was a connection between that decision and Defendants’
actions here requires discovery to determine.


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employees of the FBI who are not preference eligible have no property interest, non-SES FBI

employees who have earned veteran’s preference are vested with appeal rights. Parkinson v.

Dep’t of Justice, 874 F.3d 710, 712–13 (Fed. Cir. 2017); see also Herr v. DOJ, SF-0752-14-

0447-I-1, 2014 WL 4851394 (M.S.P.B. Sept. 22, 2014).

       Either basis for a property interest (the contractual force of the LCA or Strzok’s veteran’s

preference status) means that the FBI was required to afford him procedural due process before

firing him. It is well established that:

       In the employment context, “agencies cannot ‘relax or modify’ regulations that
       provide the only safeguard individuals have against unlimited agency discretion in
       hiring and termination.” Thus, “where ‘a government employee has no procedural
       due process rights apart from those which the agency has chosen to create by its
       own regulations, scrupulous compliance with those regulations is required to
       avoid any injuries.’” Accordingly, “[w]hen agencies establish ‘special’ ‘pre-
       termination procedures,’ they are bound to follow them.”

Lerner v. District of Columbia, 362 F. Supp. 2d 149, 161 (D.D.C. 2005) (quoting Lopez v. FAA,

318 F.3d 242, 247 (D.C. Cir. 2003) (denying summary judgment on Fifth Amendment denial of

due process claim where disputes over agency’s compliance with its own written disciplinary

procedures)).

       Here, the only process afforded to Strzok was the OPR process presided over by AD

Will. Strzok submitted his written response to her, appeared before her during an oral reply and

answered her questions, and entered into the LCA offered by her. The agency obviously could

have removed AD Will from her role as deciding official, and authorized her merely to make a

“recommendation” to Bowdich.          Had it done so, Strzok would then have appeared before

Bowdich as the deciding official, and responded to any questions he had about Strzok’s actions,

or the impact on the agency. But that was not the arrangement. Instead, the agency expressly

designated Will to be the deciding official, and then disregarded her decision because it did not



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sufficiently placate the President. Without meeting with Strzok or his attorneys and in a striking

departure from the FBI’s standard disciplinary policies, Bowdich fired Strzok and, in the same

letter, declared that his decision was final and unappealable. This effectively deprived Strzok of

any real due process. After all, in Cleveland Board of Education v. Loudermill, 470 U.S. 532,

546 (1985), the Supreme Court described the importance of affording a public employee “oral or

written notice of the charges against him, an explanation of the employer’s evidence, and an

opportunity to present his side of the story.” Those protections are illusory if the employee never

even has a chance to present his response to the real deciding official.

       Courts have unequivocally held that once a decision is issued by an authorized individual,

it is binding on the agency and cannot be changed by a higher-level supervisor. Boddie v. Dep’t

of Navy, 827 F.2d 1578 (Fed. Cir. 1987); Bross v. Dep’t of Commerce, 389 F.3d 1212, 1218

(Fed. Cir. 2004) (same). AD Will’s decision to suspend and demote, but not fire Strzok, was

authorized, final and binding on the FBI. The FBI deprived Strzok of his property interest in his

job by firing him the next day without affording him any procedural due process.

       To justify this deprivation, defendants turn to Policy Directive 0915D which they contend

gave Deputy Director Bowdich a free hand to overturn the final decision issued by AD Will, and

substitute it with his own determination of the appropriate penalty. The government used the

same argument to convince the MSPB that it lacked jurisdiction over Strzok’s appeal, but in that

proceeding it merely described the policy—the government declined to actually submit it for

either Strzok or the MSPB to review. That gambit worked when the MSPB determined that it

lacked jurisdiction, without ever reviewing PD 0915D.5



5
        Strzok did not have a copy of the policy, and it is not available to the public. His counsel
explicitly asked the FBI to produce it, but the agency declined. Counsel then asked the MSPB to


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       But defendants have now produced that policy, and it is clear that the government

overplays its hand. The policy, entitled “Disciplinary Appeals Process” (Defs.’ Ex. 7) does not

apply to the original decisions of the deciding official (here AD Will), but rather to decisions

rendered through an appeal process by a Disciplinary Review Board (“DRB”) of five FBI

officials serving one-year terms in an adjudicatory role. Significantly, the DRB was empowered

to either sustain or lower the original penalty—it could not make the penalty more severe. See

Defs.’ Ex. 7 § 6.2.5. The FBI reserved for the Director, however, the authority to reverse a DRB

determination, which would allow him to restore the determination or penalty back to the

original (more severe) finding of the deciding official. Under a heading called “Exemptions” to

this “Disciplinary Appeals Process” policy is the section upon which the FBI relies. Section 4.3

provides: “Although the decisions rendered by . . . the Disciplinary Review Board (DRB) (in

adverse action matters) are considered the FBI’s final internal disciplinary actions, by virtue of

the authority inherent in the position, the FBI Director (or his or her designee) maintains the

authority to modify any disciplinary finding, penalty, or both as deemed necessary and in the

best interests of the FBI.” This exemption by its terms applies to appeals to the DRB, not to final

decisions by the original deciding official. But Strzok did not invoke the appeal process; rather,

as reflected in the LCA, he expressly waived that process and accepted AD Will’s decision. See

Defs.’ Ex. 5.

       The FBI offers no other policy or authority which would allow it to disregard the final

decision of its own deciding official. For that reason, AD Will’s decision was the decision of the




require its production, but the agency did not do so and merely relied upon the FBI’s
representations regarding its substance. The first time that Strzok and his counsel saw the policy
was when it was attached by defendants to their motion.


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FBI, and Bowdich’s decision to summarily remove him without any due process violated his

rights under the Fifth Amendment. See SOGI ¶¶ 61–62.

IV.    MR. STRZOK HAS PLEADED AND WILL ULTIMATELY PREVAIL ON HIS
       PRIVACY ACT CLAIM

       Defendants effectively concede, by limiting their Rule 12(b)(6) motion to dismiss to

Strzok’s constitutional claims and moving only for summary judgment as to the Privacy Act

claim, that Strzok has stated a claim under the Privacy Act. As explained supra at Section II,

Defendants’ attempt to avoid the discovery that would ordinarily follow as a matter of course is

unavailing because the Court is not obligated (or, indeed, permitted) to accept Defendants’ self-

serving account of their actions without allowing discovery and because Defendants’ summary

judgment arguments are insufficient as a matter of law. The actual circumstances of the leaks

support the inference that Defendants knew the disclosures were improper but made them

anyway as part of an effort to placate President Trump and assist in his efforts to discredit the

Mueller investigation. Defendants’ Privacy Act arguments, like their argument on Strzok’s

constitutional claims, thus present questions of intent and motive that will likely require jury

findings based on witness credibility, even after discovery. See Evans, 716 F.3d at 622 (disputes

over motive are “precisely the type of factual dispute that ‘must be resolved in a jury

room . . . .’”) (quoting Czekalski, 475 F.3d at 362); Lamb v. Miller, 660 F.2d 792, 794 (D.C. Cir.

1981) (reversing grant of summary judgment where there was evidence of “possible

impermissible motives” for plaintiff’s termination despite “substantial evidence” that he violated

union rules). Regardless, Rule 56(d) entitles Strzok to discovery before he should even be asked

to respond to the disputed factual assertions that Defendants rely upon.




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       A.      Strzok Must Be Afforded Discovery on His Privacy Act Claim

       Agency records were impermissibly accessed and used to disseminate information about

Strzok to the press on at least two dates.         Both instances require discovery because the

information necessary to respond to Defendants’ Motion is in their possession.

       First, Strzok is currently unable to identify the DOJ official who leaked the information

about the text messages between him and Ms. Page prior to December 2, 2017. Goelman Decl.

¶ 4a. The identity of the leaker will likely be critical to proving that the leaks were intentional or

willful. See Convertino, 684 F.3d at 99; Goelman Decl. ¶ 6. Strzok is also unable to definitively

prove from which system of records the official collected the text messages. Goelman Decl.

¶ 4g; Winn Decl. ¶ 9 (offering an opinion based on a supposition that “the records of these text

messages [were] copied from the FBI’s general archives into a ‘system of records,’ for instance

into an OIG investigative file”).6 Discovery on that issue is necessary to respond to Defendants’

half-hearted suggestion that the messages may not have been taken from a “system of records”

and to demonstrate that the use of these records was not a “routine use” that was “compatible

with the purpose for which [the record] was collected.” 5 U.S.C. § 552a(a)(7), (b)(3); see U.S.

Postal Serv. v. Nat’l Ass’n of Letter Carriers, AFL-CIO, 9 F.3d 138, 146 (D.C. Cir. 1993)

(whether routine use notice was sufficient presented an “issue[] of fact”); see also 72 Fed. Reg.




6
       Mr. Strzok disputes Mr. Winn’s reasoning that the “FBI’s general archives” are not a
system of records within the meaning of the Privacy Act. Mr. Winn’s argument leads to the
untenable conclusion that an agency cannot violate the Privacy Act by disclosing sensitive
information about individuals from emails and text messages because, according to Mr. Winn,
those are not “‘records’ in a ‘system records’ [sic] that would be subject to the Privacy Act.”
Winn Decl. ¶ 8.


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36,725 (enumerating purported routine uses for the “Office of the Inspector General

Investigative Records System”).7

       Second, Strzok also needs discovery to respond to the Government’s argument that its

December 12, 2017 disclosure of hundreds of his private text messages did not willfully violate

the Privacy Act. Employees from the DOJ Office of Public Affairs disseminated the text

messages to select reporters on December 12, 2017 (SOGI ¶ 56c), but in the absence of

discovery, Strzok cannot establish the identity of the political appointee who ordered the release

of his text messages, show when the appointee did so, or fully demonstrate the inadequacy of the

DOJ’s asserted efforts to comply with the Privacy Act. Goelman Decl. ¶ 4a. All of those facts

are pertinent to showing that the DOJ intentionally and willfully violated Strzok’s rights.

Goelman Decl. ¶ 5.

       Discovery is especially appropriate because, even in its absence, the available evidence

strongly suggests that the DOJ’s rushed disclosure of the text messages about Strzok on the

evening of December 12, 2017, was a willful violation of the Privacy Act. The little thought

given to the legal implications and Strzok’s statutory rights is underscored by Defendants’ ill-

fated attempt to cover up their disclosure of the text messages by requiring members of the

media to agree not to attribute them to the DOJ. SOGI ¶ 56g. That is the kind of evidence from

which consciousness of guilt can be inferred. Defendants rely on Mr. Winn’s justification for the

December 12, 2017, disclosures, hoping that the Court will miss the fact that Mr. Winn’s legal

7
        Because the text messages at issue had to be identified by sender and recipient phone
numbers associated with Mr. Strzok and Ms. Page, the position that they were not retrieved from
a “system of records” borders on untenable, but Defendants have not acknowledged that the text
messages were retrieved from a system of records. See 5 U.S.C. § 552a(a)(5). Further, because
December 2, 2017 predated the supposed balancing that Mr. Winn claims to have engaged in on
December 12, 2017, the pre-December 2, 2017 leaks cannot have complied with the lone
supposed routine use that Defendants have placed at issue.


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rationale was apparently prepared after-the-fact and then back-dated to create a veneer of due

diligence. SOGI ¶ 56d. Mr. Winn’s carefully-manicured declaration, which is based only on the

limited facts as “presented to [him] at that time”—apparently meaning on December 12, 2017—

obscures facts necessary to evaluate Defendants’ knowledge and intent, which includes the

official or officials (not Mr. Winn) who made the actual decision to release the texts to the

media. Winn Decl. ¶ 18. It is revealing that, while Defendants included declarations from Mr.

Winn and Mr. Boyd, they did not submit a declaration from the unidentified senior Department

official who actually authorized the disclosure to the media. An agency cannot avoid Privacy

Act liability for a disclosure actually made for an improper purpose by eliciting a sanitized after-

the-fact rationale from an official who does not have all of the facts. See Convertino, 684 F.3d at

99. The available evidence also shows confusion (or deception) among high-ranking DOJ

officials as to the procedures that led to the disclosures. For example, DOJ officials initially

falsely asserted that the OIG approved the disclosures, but the OIG denied that. SOGI ¶ 56h.8

Discovery on these issues is necessary.

       B.      Defendants’ Legal Arguments Are Either Wrong or Subject to Refutation by
               Evidence to be Obtained in Discovery

       Each of Defendants’ three arguments for summary judgment is either legally irrelevant or

incorrect. First, neither the White House nor any of its staff is a defendant to this action, so

whether the White House is an “agency” within the meaning of the Privacy Act is of no

consequence. Second, the disclosures of the OIG investigative records to the press during the

pendency of an investigation were neither a “routine use” nor compatible with the investigative

8
        See also SOGI Ex. G (“As the DAG just testified, the IG approved the release.”), Ex. M
at 2 (“The Department did not consult with the OIG in order to determine whether releasing the
text messages met applicable ethical and legal standards before providing them to Congress. . . .
The Department did not consult with the OIG before sharing the text messages with the press.”).


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reasons for which those records were collected. Third, the evidence, including evidence to be

obtained in discovery, will prove that the DOJ intentionally and willfully violated the Privacy

Act; summary judgment cannot be premised solely upon uncritical acceptance of declarations

from two officials who did not make the decision to reveal the texts to the media.

               1.     The Privacy Act Applies to the Disclosure of DOJ Records to the White
                      House and through the White House to Others

       The sole argument that the pre-December 2, 2017 leaks did not violate the Privacy Act is

Defendants’ assertion that Strzok “does not allege a Privacy Act violation with respect to any

disclosure by officials in the White House.” Motion at 32. But the Complaint alleges that

Defendants indirectly made an illegal disclosure through the White House.            Compl. ¶ 59.

Defendants may be right that Strzok cannot sue the White House itself for disclosing White

House records, but they are wrong to suggest (if they intend to) that agencies can immunize

themselves from Privacy Act liability by using a White House conduit to leak agency records.

       As Defendants recognize, the Privacy Act places restrictions on “agency” records.9 With

limited exceptions, it prohibits disclosure of “any record which is contained in a system of

records by any means of communication to any person, or to another agency.” 5 U.S.C.

§ 552a(b) (emphasis added). Defendants cannot and do not dispute that the DOJ, including its

Office of the Inspector General, is an agency within the meaning of the Privacy Act, nor do they

dispute that the individuals who work in the White House are persons. Additionally, Defendants




9
        Although the Privacy Act references a definition of “agency” at 5 U.S.C. § 552(e),
Defendants rely on the definition in 5 U.S.C. § 552(f)(1), which provides that “agency . . .
includes any executive department, military department, Government corporation, Government
controlled corporation, or other establishment in the executive branch of the Government
(including the Executive Office of the President), or any independent regulatory agency.”


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have offered no exception to the Privacy Act that permits the disclosure of OIG investigative

records to the White House for the purpose of leaking those records for political gain.

       For the same reason that moving (non-agency) records from the White House to the State

Department (an agency) does not bring the White House records within the Privacy Act, moving

agency records from DOJ to the White House does not strip the records of their Privacy Act

protection. See Kissinger v. Reporters Comm. for Freedom of the Press, 445 U.S. 136, 156–57

(1980). That is surely why in Alexander v. F.B.I., 691 F. Supp. 2d 182, 191 (D.D.C. 2010), the

court granted summary judgment on the disclosure of FBI records to the White House on the

basis of a routine use exception for vetting personnel to be given access to the White House, and

willfulness—not whether the non-agency status of the White House made the Privacy Act

inapplicable to the FBI disclosures.

               2.     Disclosing Employees’ Private Communications to the Press Is Not a
                      “Routine Use” of OIG’s Investigative Records

       Defendants next argue that the DOJ’s decision to disclose Strzok’s text messages on

December 12, 2017 was “routine” and “compatible with the purposes for which those records

were collected.” Motion at 36–40. As Defendants recognize, the government must prove both a

“publication” of an applicable routine use and the “compatibility” between “the purpose for the

collection of the record in the specific case and the purpose of the disclosure.” Motion at 35

(quoting Britt v. Naval Investigative Serv., 886 F.2d 544, 548–49 (3d Cir. 1989)).            The

government has done neither.

       “[P]roviding information to the media is not among the list of permissible disclosures

listed in the Privacy Act,” Kelley v. F.B.I., 67 F. Supp. 3d 240, 260 (D.D.C. 2014), so Defendants

must rely on a published “routine use” and show that they provided “adequate notice of the

purposes for which the [agency] may release an employee’s information.” Dinh Tran v. Dep’t of


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Treasury, 351 F. Supp. 3d 130, 136 (D.D.C. 2019); see Britt, 886 F.2d at 548 (alleged routine

use did not provide “meaningful public notice” where it did not state “what information

concerning them will be released and the purposes of such release”).

       Assuming, as Defendants imply, that the relevant system of records here is the OIG

system, the purported “routine use” of disclosing investigative records “to the news media and

the public” cannot be interpreted to apply to disclosures other than those contained in official

OIG reports. If the exception were meant to be so broad, it would be invalid.10 5 U.S.C.

§ 552a(e)(4)(D) requires agencies to publish the “purpose of [each] use” and the only published

purpose here is “to carry out [the OIG’s] responsibilities pursuant to the Inspector General Act of

1978.” Yet the Inspector General has testified that it would be “entirely inappropriate” for

anyone on his team to “give interviews,” reach conclusions, “indicate preliminary ideas,” or

provide “advice, [or] guidance statements” to the press or public until “the end of [an]

investigation.” SOGI ¶ 55d. The disclosures at issue cannot have been a routine use because

they were unprecedented, inconsistent with the OIG’s mission, and apparently perpetrated by the

DOJ without the OIG’s consent. SOGI ¶ 55c.

       Moreover, even if this “routine use” was applicable, there was no “fairly close

relationship” between the purpose for which the documents were collected “and the purpose of


10
        Agencies are prohibited from utilizing the “‘routine use’ exception to circumvent the
mandates of the Privacy Act.” Pilon v. U.S. Dep’t of Justice, 73 F.3d 1111, 1123 (D.C. Cir.
1996) (quoting Doe v. Stephens, 851 F.2d 1457, 1466 (D.C. Cir. 1988)). To the extent that
Defendants assert that the routine use for disclosures to the media and the public allows
disclosures other than those contained in official reports at the conclusion of OIG investigations,
Defendants purport to create a general and impermissible exception to the Privacy Act that
allows the disclosure of any record, at any time, on any subject, unless the DOJ determines
disclosure “would constitute an unwarranted invasion of personal privacy.” 72 Fed. Reg. 36,725.
Such an interpretation could not be squared with 5 U.S.C. § 552a(e)(4)(D) or the agency’s
obligation to provide adequate notice of how records will be used. See Dinh Tran, 351 F. Supp.
3d at 136.


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[their] disclosure.” Richardson v. Bd. of Governors of Fed. Reserve Sys., 248 F. Supp. 3d 91,

102 (D.D.C. 2017). Leaking records to the media for the purpose of priming the media pump

against a target of the President’s animosity is not compatible with the purpose for which the

OIG collects records or even the impermissibly broad purpose of informing the public suggested

by Defendants’ brief.11 This factual dispute as to Defendants’ motivations plainly precludes

summary judgment. See Lamb, 660 F.2d at 794.

       And even if the asserted routine use was applicable and the purpose of the disclosure

aligned with the purpose for the records’ collection (a disputed material fact in its own right),

summary judgment would still be improper because the parties dispute whether Defendants

engaged in a good-faith, diligent balancing of the public and private interests, as Defendants

concede the supposed routine use mandated. Motion at 39–40. Federal “agents’ status as public

officials does not rob them of their privacy rights,” Stone v. F.B.I., 727 F. Supp. 662, 664

(D.D.C. 1990), and the DOJ is ordinarily reticent to release the names of its career employees, in

part because it knows that they may then be the victims of threats and intimidation as Strzok has

been since the Defendants disclosed his identity. SOGI ¶ 59b; see Lesar v. U.S. Dep’t of Justice,

636 F.2d 472, 487 (D.C. Cir. 1980) (FBI “agents have a legitimate interest in preserving the

secrecy of matters that conceivably could subject them to annoyance or harassment in either their

official or private lives.”); see also Gerstein v. C.I.A., No. C 06-4643 MMC, 2011 WL 89337, at

*2 (N.D. Cal. Jan. 11, 2011).

       The Defendants, and Mr. Winn, point to the fact that Plaintiff’s identity was already

public on December 12, 2017 as decreasing the weight of the privacy interests at stake since at


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        The media and public disclosure routine use has been used only to justify disclosing
private information to the public at the conclusion of an OIG investigation and together with the
OIG’s analysis and conclusions. SOGI ¶ 55c.


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that time “there appeared to be no way to mitigate the invasion of privacy that would accompany

the release of the texts by redacting [Mr. Strzok’s and Ms. Page’s] names.” Motion at 40. But

Defendants never engaged in a balancing analysis in which the non-disclosure of Strzok’s

identity was a realistic possibility only because they had already leaked information about the

text messages before any balancing of interests was contemplated. SOGI ¶ 56d. They should

not now be allowed to rely on the effects of their prior indiscretion as a justification for their

subsequent improper disclosures to the media.

       It is also no answer to say, as Defendants do, that the text messages would have become

public anyway. Motion at 36. Many of the private text messages that were provided to the

media on December 12, 2017 were not included in the Midyear Report and may never have been

publicly disseminated absent the December 12 disclosures. SOGI ¶ 54b. Moreover, by releasing

the texts to the media long before the OIG’s investigation had concluded that Plaintiff’s political

opinions had not impacted his work at the FBI, Defendants provided President Trump and his

allies a lengthy head start to falsely shape the perception of the Plaintiff as (among other things)

a traitor and coup plotter.

               3.      Plaintiff Will Show that the DOJ Willfully and Intentionally Violated the
                       Privacy Act.

       Strzok expects to prove that the DOJ “acted in a manner which was intentional or willful”

as required by 5 U.S.C. § 552a(g)(4).12 Defendants claim that Strzok will never be able to meet


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        As Defendants note, “[i]n distinguishing between an intentional violation and an
inadvertent error, this Circuit has assembled a variety of tests . . . .” Motion at 42. Defendants
contend that “together” the Circuit’s cases require conduct “greater than gross negligence” based
on Tijerina v. Walters, 821 F.2d 789, 799 (D.C. Cir. 1987), yet the Circuit’s more recent cases
show that conduct “greater than gross negligence” is but one of several ways in which an
intentional or willful violation of the act may be proven. See Maydak v. United States, 630 F.3d
166, 179 (D.C. Cir. 2010). A plaintiff may also succeed by showing that the disclosure was
made “without grounds for believing it to be lawful” or “by flagrantly disregarding others’ rights


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that burden because Mr. Winn provided an opinion to Associate Deputy Attorney General Scott

Schools that the public interest in the texts’ disclosure outweighed the private interests of Strzok

and Ms. Page. But this Court cannot accept Mr. Winn’s declaration as a definitive account of

Defendants’ decision-making process. To be sure, Defendants’ disclosure of Mr. Winn’s advice

is a waiver of any privileges Defendants might try to assert against discovery of their decision-

making, just as presenting an advice of counsel defense operates as a waiver of the attorney-

client privilege. See Ideal Elec. Sec. Co. v. Int’l Fid. Ins., 129 F.3d 143, 151 (D.C. Cir. 1997).

But Mr. Winn was not the official who made the decision to release the text messages on

December 12, 2017 or among the employees who made the disclosures at issue, and his

declaration has no necessary bearing on whether those unnamed actors intentionally or willfully

violated Strzok’s rights. As noted, disputed issues of intent and motive are rarely suited for

summary judgment even on a fully developed record, see Evans, 716 F.3d at 622, Lamb, 660

F.2d at 794, and they are even less amenable to preemptive summary judgment at this early stage

of litigation, see Convertino, 684 F.3d at 102.

       The task of responding to Defendants’ motion is made doubly difficult by the DOJ’s

ironically extensive redaction, in response to a FOIA request, of post-December 12, 2017 emails

regarding the back-dated “Privacy Act Assessment” on deliberative process grounds. See, e.g.,

SOGI Exs. D, E (note redactions for “(b)(5)”). Two key issues emerge. First, if Mr. Winn had

actually reached an opinion after sufficient due diligence and careful analysis on December 12,

2017, there would be no need and no right to invoke deliberative process protections for the


under the Act.” Id. (quoting Waters v. Thornburgh, 888 F.2d 870, 875 (D.C. Cir. 1989)). The
Circuit’s more recent interpretations of the Privacy Act’s “intentional or willful” requirement
also more closely adhere to Supreme Court precedent, which extends civil liability for “willful”
acts “not only knowing violations of a standard, but reckless ones as well.” Safeco Ins. Co. of
Am. v. Burr, 551 U.S. 47, 57 (2007).


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agency’s Privacy Act assessment after December 12, 2017. See Elec. Frontier Found. v. U.S.

Dep’t of Justice, 739 F.3d 1, 7 (D.C. Cir. 2014) (limiting privilege to “documents that are

‘predecisional’ and ‘deliberative’”). Second, Strzok is being forced to respond to a motion for

summary judgment based on records that appear to redact information central to this case. See

Doe 2 v. Esper, No. CV 17-1597 (CKK), 2019 WL 4394842, at *7 (D.D.C. Sept. 13, 2019)

(deliberative process could not be used to shield documents when “the extent and scope of that

decision-making process is a central issue in this lawsuit”). Only after discovery can Strzok be

expected to fully respond to Defendants’ asserted lack of intent, but even the heavily redacted

FOIA disclosures debunk Defendants’ claim that its December 12, 2017 disclosures were based

on “thoughtful analysis” or complete “due diligence.” Due diligence, by definition, is performed

before disclosure, not, as here, where a memorandum justifying the disclosures is prepared

belatedly and then back-dated. SOGI ¶ 56d; cf. Reed v. Dep’t of the Navy, 910 F. Supp. 2d 32,

44 (D.D.C. 2012) (finding, after trial, that agency employee had “not willful[ly] or

intentional[ly]” violated the Privacy Act because agency employee “did her due diligence before

releasing the documents” (emphasis added)).

V.     CONCLUSION

       For the reasons explained above, Defendants’ Motion to Dismiss or, in the Alternative,

for Summary Judgment as to Count One and Count Two, and Motion for Summary Judgment as

to Count Three should be denied.




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Date: December 30, 2019            Respectfully submitted,

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